
TAYLOR, Presiding Judge.
This case is remanded to the circuit court for that court to make a determination as to whether appellant is indigent and, if so, to appoint counsel.
REMANDED WITH DIRECTIONS.
All the Judges concur.
ON RETURN TO REMAND
TAYLOR, Presiding Judge.
Appellant received treatment as a youthful offender after a guilty plea and was given a split sentence of six months’ confinement and two and one-half years’ probation. No brief having been filed, we remanded this case to the trial court to determine indigency so that appellant, if so *1267entitled, could be represented by counsel on appeal. Appellant’s claim of ineffectiveness of trial counsel is, as appellate counsel states, unsupported by the record. Appellant claims that his trial counsel coerced him to plead guilty as a youthful offender. However, the record clearly shows that the appellant had a full understanding of the ramifications of his plea of guilty.
Counsel for the appellant has filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), stating that he “can find no evidence of error in the record or any evidence of abuse of judicial discretion in this case.” He also states that “the record reflects that Appellant’s trial attorney was diligent in his representation of the Appellant. Specifically, the attorney convinced the trial court to grant the Appellant Youthful Offender Status after an initial denial of this status by the court.”
The court’s judgment of appellant as a youthful offender is affirmed.
OPINION EXTENDED; AFFIRMED.
All the Judges concur.
